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12   UNITED STATES OF AMERICA

13                             UNITED STATES DISTRICT COURT

14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                 No. CR 2:20-326(A)-JFW-5, 6

16               Plaintiff,                    AGREED UPON SUMMARY OF THE
                                               INDICTMENT
17                    v.
                                               Trial Date: June 14, 2022
18   DAE YONG LEE,                             Trial Time: 8:00 A.M.
       aka, “David Lee,”                       Location:   Courtroom of the Hon.
19   940 HILL, LLC,                                        John F. Walter

20               Defendants.

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22         Plaintiff United States of America, by and through its counsel
23   of record, the United States Attorney for the Central District of
24   California and Assistant United States Attorneys Mack E. Jenkins,
25   Veronica Dragalin, and Cassie Palmer, and defendants DAE YOUNG LEE
26   and 940 HILL, LLC (“defendants”), by and through their below-listed
27   counsel of record, submit their Agreed Upon Summary of the Indictment
28   in the above-captioned matter.
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 1         The parties respectfully request that this joint statement be

 2   read to the entire jury venire and then again once the specific trial

 3   jury is empaneled.

 4    Dated: June 1, 2022                 Respectfully submitted,

 5                                        TRACY L. WILKISON
                                          United States Attorney
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 7                                        Assistant United States Attorney
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 9
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10                                        VERONICA DRAGALIN
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11                                        Assistant United States Attorneys
12                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
13

14

15    Dated: June 1, 2022                  /s/ via e-mail authorization
                                          ARIEL A. NEUMAN
16                                        RAY S. SEILIE
                                          Attorneys for Defendants
17                                        DAE YONG LEE and 940 HILL LLC
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 1                                   JOINT STATEMENT

 2         Defendant Dae Young Lee, also known as “David Lee,” is the

 3   majority owner of defendant 940 Hill, LLC (“940 Hill”).            In July

 4   2016, 940 Hill received conditional approval from the Los Angeles

 5   City Planning Department to redevelop a lot into a mixed-use

 6   development that would include 14,000 square feet of commercial space

 7   and over 200 residential units (“940 Hill Project”) in Los Angeles

 8   City Council District 14 (“CD-14”) in Downtown Los Angeles.             In

 9   August 2016, a labor organization called CREED LA appealed the

10   Planning Department’s approval, which prevented the 940 Hill Project

11   from advancing through the City approval process.           The appeal could

12   ultimately reach the Planning and Land Use Management (“PLUM”)

13   Committee, which is a body that oversees commercial and residential

14   development projects in the City of Los Angeles.           Jose Luis Huizar

15   (“Huizar”), the Councilmember for CD-14, was the Chair of the PLUM

16   Committee.

17         The government alleges that defendant Lee asked Justin Kim to

18   obtain Huizar’s assistance in dealing with the appeal.            Justin Kim

19   was a real estate appraiser and consultant for real estate developers

20   with projects in the City and a fundraiser for Huizar.            The

21   government alleges that Justin Kim, in turn, asked Huizar’s special

22   assistant George Esparza for assistance in securing Huizar’s help

23   with the appeal.

24         The government alleges that defendant Lee, on behalf of

25   defendant 940 Hill, agreed to and did pay a $500,000 cash bribe to

26   obtain Huizar’s and Esparza’s assistance in dealing with the appeal.

27   Specifically, the government contends that in exchange for a $500,000

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 1   cash payment from defendants Lee and 940 Hill, Huizar and Esparza, in

 2   their capacity as public officials, agreed to cause CREED to drop its

 3   appeal or have Huizar vote against it so the 940 Hill Project could

 4   continue through the City process.           The government alleges defendant

 5   Lee provided cash to Kim to provide to Huizar and Esparza.

 6         Based on these allegations, the defendants are charged in Count

 7   5 with wire fraud through a scheme to deprive the City of Los Angeles

 8   and its citizens of their right to honest services of their public

 9   officials through bribery and kickbacks, and in Count 25 with bribery

10   of public officials.

11         The government further alleges that when defendants Lee and 940

12   Hill became aware that the FBI was investigating the matter,

13   defendants Lee and 940 Hill falsified 940 Hill’s accounting and tax

14   records for the calendar year 2018 by falsely categorizing a $500,000

15   payment, with the intent to impede the federal investigation.             Based

16   on this alleged conduct, the defendants are charged in Count 38 with

17   obstruction of justice.

18         Defendants Lee and 940 Hill deny that they knew or intended that

19   money they paid to Justin Kim would be paid to Jose Huizar or George

20   Esparza, deny that the entries in 940 Hill’s accounting and tax

21   records were false, and deny that the entries were made with the

22   intent to obstruct or impede the investigation.

23         The charges against the defendants are labeled Counts 5, 25 and

24   38 because they are part of a larger indictment involving other

25   individuals.     You are not to ascribe any significance to that fact or

26   the numbers assigned to the charges.

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 1         Defendants Lee and 940 Hill are presumed innocent of all three

 2   of the charges.     To overcome that presumption, the government must

 3   prove each of the elements of each offense charged beyond a

 4   reasonable doubt.

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